                         UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                               NO. 5:10-CR-250-1

UNITED STATES OF AMERICA

             V.                                            o R D E R
SEAN RYAN MCGOVERN


      Upon motion of the United States of America, by and through

the   United States       Attorney   for   the    Eastern District              of   North

Carolina, it is hereby ORDERED that all court records pertaining to

SEAN RYAN MCGOVERN, be changed to reflect the proper identification

of the defendant as SEAN NICHOLAS MCGOVERN.


      SO ORDERED. This -L day of August 2010.




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                                                 JAS....  ~,,~
                                                     C. DEVER III
                                                 United States District Judge




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